






Opinion issued June 20, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00466-CV

____________


HOME STATE COUNTY MUTUAL INSURANCE COMPANY,  Appellant


V.


MICAH D. SMITH,  Appellee






On Appeal from the 164th District Court

Harris County, Texas

Trial Court Cause No. 01-47935






O P I N I O N

	Appellant has filed a motion to dismiss its appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed without prejudice.  Tex. R. App. P.
42.1(a)(2).


	All other pending motions in this appeal are overruled as moot.  The Clerk is directed
to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P. 18.1.


PER CURIAM

Panel consists of Chief Schneider and Justices Nuchia and Radack.

Do not publish. Tex. R. App. P. 47.


